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                                                                                      CERTIFIED AS ARBITRATOR AND MEDIATOR, R.1:40

                                                                                              **ADMITTED TO THE PENNSYLVANIA BAR
                                                                                                   QUALIFIED FAMILY LAW MEDIATOR
                                                                                                            REGISTERED GUARDIAN




        March 18, 2025


        Hon. Cathy L. Waldor
        Martin Luther King Jr. Courthouse
        50 Walnut Street
        Room 4040, Courtroom 4C
        Newark, New Jersey 07101


        RE:     Vision Industries Group, Inc. v. ACU Plasmold, Inc.
                Case No.: 2:18-cv-06296-ES-CLW


        Dear Judge Waldor,

        The undersigned represents Defendant ACU in this case. Plaintiff and Defendant have been
        tasked with creating a joint Statement of the Case.

        Our (Defendant) understanding of what the Court wants in a Statement of the Case is a statement
        of the relevant facts that are recognized as facts by both parties, along with the issues presented
        by the case. Plaintiff has refused to agree to put any facts into the Statement of the Case other
        than facts that appear in the pretrial order's "Stipulated Facts." Plaintiff has gone so far with its
        rule that it is insisting on removing (from the Statement of the Case fact section proposed by
        Defendant) a fact from Plaintiff’s own "Contested Facts."

        On the other hand, Plaintiff insists on summarizing a number of facts from the pretrial
        order's stipulated facts in a fashion that is outright false.




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        While we hate to involve the court, we have exhausted our own resources and need the guidance
        of the court. We are requesting guidance from the Court as to exactly what should be included
        in the "Statement of the Case" since plaintiff and defendant have disparate and incompatible
        views of what that is, exactly. Thank you for your assistance in this matter.

        Respectfully submitted,



        Michael T. Warshaw, Esq.                                       Edward W. Miller

        MTW:kp
        cc:  counsel of record via ECF




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